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                                Clip #1 Transcript


       AVI SCHOTTENSTEIN: It's like, there -- there -- she's -- Alexis is trying to

make a case against me and my father and Ephriam --



       BEVERLEY SCHOTTENSTEIN: Oh, she's not trying to make a case.



       ROBERT SCHOTTENSTEIN: Mom, she is. Mom --



       BEVERLEY SCHOTTENSTEIN: She's just --



       ROBERT SCHOTTENSTEIN: -- that's just the reality.



       AVI SCHOTTENSTEIN: She is.



       BEVERLEY SCHOTTENSTEIN: Your -- your brother --



       AVI SCHOTTENSTEIN: You don't realize it.



       BEVERLEY SCHOTTENSTEIN: -- your brother gave her, uh, a portfolio of what's

--



       AVI SCHOTTENSTEIN: He didn't give her anything.



       ROBERT SCHOTTENSTEIN: I didn't give it to her.



       BEVERLEY SCHOTTENSTEIN: She --


                                           1


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       AVI SCHOTTENSTEIN: She made it up. She downloaded --



       BEVERLEY SCHOTTENSTEIN: I saw it by myself.



       AVI SCHOTTENSTEIN: Then -- then, she downloaded it --



       BEVERLEY SCHOTTENSTEIN: And she's --



       ROBERT SCHOTTENSTEIN: -- she printed it out.



       BEVERLEY SCHOTTENSTEIN: She said you lost 17 million --



       AVI SCHOTTENSTEIN: No, you didn't mom --



       BEVERLEY SCHOTTENSTEIN: -- and showed me --



       ROBERT SCHOTTENSTEIN: It's an unrealized --



       AVI SCHOTTENSTEIN: No. There's no losses. There isn't --



       ROBERT SCHOTTENSTEIN: There's no losses.



       AVI SCHOTTENSTEIN: The account is worth 90 million dollars. That's what it's

worth. There's no losses in that account.



       BEVERLEY SCHOTTENSTEIN: You know, I came with much more than 90 million

dollars.

                                            2


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       AVI SCHOTTENSTEIN: There's spending --



       BEVERLEY SCHOTTENSTEIN: I should have double.



       ROBERT SCHOTTENSTEIN: I know, mom. But money --



       BEVERLEY SCHOTTENSTEIN: No, you're --



       ROBERT SCHOTTENSTEIN: -- got taken out over the years.



       BEVERLEY SCHOTTENSTEIN: No. Was taken out, but it wasn't --



       AVI SCHOTTENSTEIN: Just not from the investing.



       BEVERLEY SCHOTTENSTEIN: -- it wasn't done properly.



       ROBERT SCHOTTENSTEIN: Yes, it was.



       BEVERLEY SCHOTTENSTEIN: I should not have -- I shouldn't of Taken Ev -- Evan

to begin with.



       ROBERT SCHOTTENSTEIN: Oh, mom --



       BEVERLEY SCHOTTENSTEIN: It was a kid out of school --



       ROBERT SCHOTTENSTEIN: Mom, mom, so now what do you --



                                            3


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         BEVERLEY SCHOTTENSTEIN: -- and then they – everyone, the whole --



         AVI SCHOTTENSTEIN: For 15 years he's -- he's been working for you.



         BEVERLEY SCHOTTENSTEIN: I know. 15 years of doing a gornisht --



         ROBERT SCHOTTENSTEIN: Oh, mom, mom --



         BEVERLEY SCHOTTENSTEIN: -- because I want to tell you something. They told

me down at the thing there, uh, when I walked into Morg --   uh, not --



         ROBERT SCHOTTENSTEIN: Then, mom --



         AVI SCHOTTENSTEIN: [Unintelligible.]



         BEVERLEY SCHOTTENSTEIN: No --



         ROBERT SCHOTTENSTEIN: -- then, mom -- then, mom, to begin with, then --



         BEVERLEY SCHOTTENSTEIN: Because they said, "What did you take The relative

for --



         ROBERT SCHOTTENSTEIN: Then, mom, you –



         [End of Clip]




                                              4


                                   TAB 128, PAGE 4
